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                            UNITED ST ATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            NORTHERN DIVISION AT ASHLAND
                              CASE NO: 0:17-CV-00014-HRW

Robert P. Elliott, as the Executor                                                  PLAINTIFF
of the Estate of Earthel Elliott, deceased

v.
GGNSC Vanceburg, LLC
d/b/a Golden LivingCenter- Vanceburg, et al.                                    DEFENDANTS

                       ORDER GRANTING PLAINTIFF'S MOTION TO REMAND

       This matter is before the Court on Plaintiffs Motion to Remand.          Considering the

circumstances as a whole, the Court finds that the Motion is well-taken and should be granted.

        It is therefore ORDERED that Plaintiff's Motion to Remand is GRANTED.



        So ORDERED this     theJl/J:!::-     day of
                                                      ""
                                                           Ak fl.             '2017.




Submitted by:


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